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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                         )
    In re:                                               )     Chapter 11
                                                         )
    FIRST GUARANTY MORTGAGE                              )     Case No. 22-10584 (CTG)
                         3
    CORPORATION, et al.,                                 )
                                                         )     (Jointly Administered)
                             Debtors.                    )
                                                         )     Related Docket No. ___

 ORDER SHORTENING THE NOTICE PERIODS WITH RESPECT TO DEBTORS’
APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE RETENTION AND
    EMPLOYMENT OF STRATEGIC MORTGAGE FINANCE GROUP, LLC AS
               INVESTMENT BANKER TO THE DEBTORS


             Upon consideration of the motion (the “Motion to Shorten”)4 of the above-captioned

debtors and debtors in possession (collectively, the “Debtors”) for entry of an order (this “Order”)

shortening the notice periods with respect to the Debtors’ Application for Entry of an Order

Authorizing the Retention and Employment of Strategic Mortgage Finance Group, LLC as

Investment Banker to the Debtors (the “Application”), all as more fully set forth in the Motion to

Shorten; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference from the United States District Court for the District

of Delaware, dated February 29, 2012; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter a final order consistent with

Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion to Shorten in this district is proper pursuant to 28 U.S.C. §§ 1408 and




3
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
  number, are: First Guaranty Mortgage Corporation (9575); and Maverick II Holdings, LLC (5621). The Debtors’
  mailing address is 5800 Tennyson Parkway, Suite 450, Plano, TX 75024.
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   Capitalized terms used but not defined herein have the meanings given to such terms in the Motion to Shorten.



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1409; and this Court having determined that the legal and factual bases set forth in the Motion to

Shorten establish just cause for the relief granted herein; and upon all of the proceedings had before

this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

        1.       The Motion to Shorten is granted as set forth herein.

        2.       The Application shall be heard at the hearing on September 28, 2022, at 10:00 a.m.

prevailing Eastern Time.

        3.       Any responses or objections to the relief requested in the Application shall be filed

with this Court no later than September 26, 2022, at 4:00 p.m. prevailing Eastern Time.

        4.       The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order.

        5.       This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




Dated: September 13th, 2022                             CRAIG T. GOLDBLATT
Wilmington, Delaware                                    UNITED STATES BANKRUPTCY JUDGE




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